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                                                         THE HONORABLE RICARDO S. MARTINEZ
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                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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10   SEDRICK DEWAYNE ALTHEIMER,
11                                    Plaintiff,                 Case No. 2:21-cv-01437-RSM
12    v.
                                                                 PLAINTIFF’S STATUS
13   PIERCE COUNTY, WASHINGTON, and                              REPORT RE: CRIMINAL
     PIERCE COUNTY SHERIFF EDWARD C.                             CASE
14   TROYER, (a/k/a Ed Troyer), in his individual
     and official capacity,
15

16                                    Defendants.

17

18              COME NOW Plaintiff Sedrick Dewayne Altheimer, by and through his counsel of record,

19   and pursuant to the Court’s Order Granting Defendant Troyer’s Motion to Stay, hereby advises the

20   Court of the status of Defendant Troyer’s parallel criminal case pending in Pierce County District

21   Court. 1 The parties were unable to agree on joint language to provide the status of the criminal case

22   to the Court and have, therefore, filed separate reports.

23              The Parallel Criminal Case: On or about October 19, 2021, the State of Washington charged

24   Defendant Troyer with two gross misdemeanors: (1) false reporting; and (2) making a false

25   statement to a public servant. The State filed the criminal action in Pierce County District Court

26     1
           Dkt. 18.

      PLAINTIFF’S STATUS REPORT RE: CRIMINAL CASE                       SUSAN B. MINDENBERGS
      Case No. 2:21-cv-01437-RSM                                               ATTORNEY AT LAW
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 1   where it is assigned Cause No. 1AC002225. 2 Kitsap County District Court Judge Jeffrey J. Jahns

 2   has been assigned to preside over the Parallel Criminal Case. On May 6, 2022, Judge Jahns granted

 3   Defendant Troyer’s motion to continue the trial date for the Criminal Case from July 11, 2022 to

 4   October 31, 2022.

 5           On June 6, 2022, the Pierce County District Court entered an Anti-Harassment Protection

 6   Order against Defendant Troyer for acts the Court deemed harassment of Plaintiff Altheimer, Case

 7   No. 2A60211A. On July 1, 2022, Judge Jahns imposed bail for Defendant Troyer in the amount of

 8   $100,000.00 in the Criminal Case citing the Court’s concerns about issues raised in the Anti-

 9   Harassment Petition and Order.

10           The Present Lawsuit: On September 27, 2021, Plaintiff filed the present lawsuit in King

11   County Superior Court. 3 Defendant Pierce County, Washington removed the matter to the United

12   States District Court for the Western District of Washington. 4

13           Shortly thereafter, Defendant Troyer moved to stay all proceedings in this case, arguing that

14   both cases arise out of the same incident and alleged facts, the risk of depravation of Defendant

15   Troyer’s Fifth Amendment due process rights is substantial, and that Plaintiff will not be unduly

16   prejudiced by a stay. 5 Defendant Pierce County, Washington joined Defendant Troyer’s Motion to

17   Stay. 6 Plaintiff did not oppose Defendants’ request for that first stay but asked the Court to set a trial

18   date for April 3, 2023. 7

19           This Court granted Defendant Troyer’s Motion to Stay on January 11, 2022. 8 In its Order,

20   the Court directed the parties to advise the Court of the status of the Criminal Case at the earlier of

21   its full adjudication or August 1, 2022.

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23     2
         Pierce County District Court Cause No. 1AC002225, State of Washington v. Edward C. Troyer, Jr., is referred to
     as the “Parallel Criminal Case.”
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       3
         Dkt. 1-1.
       4
         Dkt. 1.
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       5
         Dkt. 12.
       6
         Dkt. 15.
26
       7
         Dkt. 16.
       8
         Dkt. 18.

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 1          The Parallel Criminal Case remains open and pending due to Defendant Troyer’s request for

 2   a continuance. Plaintiff agrees that Defendants’ request that the Court extend the stay only until such

 3   time as the Parallel Criminal Case now scheduled for October 31, 2022, is tried.

 4          Because of the Defendant Troyer’s on-going harassment of Plaintiff Altheimer and the

 5   danger from any further harassment, Plaintiff requests that this Court stay the proceedings only until

 6   the October 31, 2022 trial of the Criminal Case concludes. Plaintiff requests that the Court order

 7   that discovery commence no later than November 25, 2022. Plaintiff Altheimer opposes any stays

 8   of the proceedings in this matter beyond November 25, 2022.

 9

10          DATED this 1st day of August 2022.

11                                                 By: /s/ Susan B. Mindenbergs
                                                   Susan B. Mindenbergs, WSBA #20545
12
                                                   Law Office of Susan B. Mindenbergs
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16                                                 By: /s/ Vonda M. Sargent
                                                   Vonda M. Sargent, WSBA #24552
17                                                 The Law Offices of Vonda M. Sargent
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                                                   Seattle, WA 98104
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20                                                 Email: sisterlaw@me.com
                                                   Attorneys for Plaintiff
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              Case 2:21-cv-01437-RSM Document 20 Filed 08/01/22 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on August 1, 2022, the undersigned caused a true and correct copy of

 3   the foregoing document to be served in the manner indicated below upon the following

 4   individual(s):

 5      Gregory E. Jackson, WSBA #17541                      Legal Messenger
        Jackson & Nicholson, P.S.                            Facsimile
 6      900 SW 16th Street, Suite 215                        Electronic Mail
        Renton, WA 98057                                     USPS First Class Mail
 7                                                           UPS Shipping
        Telephone: (206) 582-6001                           ⊠ CM/ECF
 8      Facsimile: (206) 466-6085
        Email: Greg@jnseattle.com
 9      Attorney for Defendant Pierce County, WA

10      L. Clay Selby, WSBA #26049                           Legal Messenger
        Eric F. Schacht, WSBA #56342                         Facsimile
11                                                           Electronic Mail
        Ledger Square Law, P.S.
        710 Market Street                                    USPS First Class Mail
12                                                           UPS Shipping
        Tacoma, WA 98402                                    ⊠ CM/ECF
13      Telephone: (253) 327-1900
        Facsimile: (253) 327-1700
14      Email: Clay@LedgerSquareLaw.com
        Email: Eric@LedgerSquareLaw.com
15
        Attorneys for Defendant Edward C. Troyer
16

17          The foregoing statement is made under the penalty of perjury under the laws of the State of

18   Washington and is true and correct.

19          DATED this 1st day of August 2022.

20                                                 By: /s/ Christine A. Tobin
                                                   Christine A. Tobin, Paralegal
21                                                 Law Office of Susan B. Mindenbergs
22                                                 705 Second Avenue, Suite 1050
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23                                                 Telephone: (206) 447-1560
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